Case 3:24-cv-00101-KHJ-MTP Document 1-3 Filed 02/20/24 Page 1 of 3

EXW6)T 5
Case 3:24-cv-00101-KHJ-MTP Document 1-3 Filed 02/20/24 Page 2 of 3

FSA Time Credit Assessment
Register Number: 73279-112, Last Name: VORESS

U.S. DEPARTMENT OF JUSTICE

FEDERAL BUREAU OF PRISONS

Register Number....: 73279-112
Inmate Name
Last.............: VORESS
First............: JOSHUA
Middle...........-: LEE
Suffix......... ’
Gender.............: MALE

Responsible Facility
Assessment Date,
Period Start/Stop...:
Accrued Pgm Days....:
Disallowed Pgm Days.:

12-21-2018 to 12-03-2023
1717

Start Stop
12-21-2018 12-27-2018
Accrued Pgm Days...: 6

Pgm Status

accrue

Carry Over Pom Days: 0
Time Credit Factor.: 10

Time Credits.......: 0
Start Stop Pgm Status
12-27-2018 01-03-2019 disallow

In FRP refuse status

Facility Category Assignment Start
12-27-2018 1017

FTC Towards RRC/HC..:
FTC Towards Release.:
Apply FTC to Release:

Pgm Days

6

Pgm Days

7

Stop
01-02-2019 1535

TRM FRP REFUSE
Start Stop Pgm Status
01-03-2019 07-17-2019 accrue

195
Carry Over Pgm Days: 6

Accrued Pgm Days...:

Time Credit Factor.: 10

Pgm Days
195

Time Credits....... : 60
Start Stop Pgm Status
07-17-2019 04-07-2022 accrue
Accrued Pgm Days...: 995
Carry Over Pgm Days: 21
Time Credit Factor.: 15
Time Credits.......: 495
Start Stop Pgm Status
04-07-2022 06-30-2022 disallow

Not in qualifying admit status

Facility Category Assignment Start
04-06-2022 1240

MEN ARS TRANSFER

Stop
04-06-2022 1240

Assessment Date: 12-03-2023

(1)

Assessment# -2145728795
Case 3:24-cv-00101-KHJ-MTP Document 1-3 Filed 02/20/24 Page 3 of 3

FSA Recidivism Risk Assessment (PATTERN 01.03.00)

Register Number :73279-112, Last Name: VORESS

U.S. DEPARTMENT OF JUSTICE

FEDERAL BUREAU OF PRISONS

Register Number: 73279-112
Inmate Name

Last......... : VORESS
First........: JOSHUA
Middle.......: LEE
Suffix.......:
Gender.........: MALE

Risk Level Inmate

General Level......:
Violent Level......:
Security Level Inmate:
Security Level Facl..:
Responsible Facility.:

Start Incarceration..:

R-LW (22)
R-LW (12)
LOW

05/19/2017

PATTERN Worksheet Summary

Item

Current Age

Walsh w/Conviction

Violent Offense (PATTERN)

Criminal History Points

History of Escapes

History of Violence

Education Score

Drug Program Status

All Incident Reports (120 Months)
Serious Incident Reports (120 Months)
Time Since Last Incident Report

Time Since Last Serious Incident Report
FRP Refuse

Programs Completed

Work Programs

HighSchoolDegreeOrGED
NoNeed
1

Total

General Score - Violent Score

Assessment Date: 07/27/2022

(1)

Assessment# R-2147051193
